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MINUTE ENTRY
LEMMON, J.
AUGUST 25, 2021

                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

 ANGELA MURTAGH                                          CIVIL ACTION
 VERSUS                                                  NO. 19-1762
 AMERICAS INSURANCE COMPANY                              SECTION "S" (2)



                  JUDGE MARY ANN VIAL LEMMON, PRESIDING

WEDNESDAY, AUGUST 25, 2021 (1:45 p.m. – 1:52 p.m.)


COURTROOM DEPUTY: Shannon Shedd
COURT REPORTER:   Sandra Minutillo

APPEARANCES:               Angela Murtagh, Pro Se
                           Craig J. Robichaux for Intervenor Plaintiff, Talley, Anthony,
                           Hughes & Knight, LLC
                           Kevin P. Riche for Defendant, Americas Insurance Company


HEARING TO DETERMINE COUNSEL

Plaintiff informed the Court that she has not sought new counsel and requested six weeks
to hire counsel.

The Court instructed plaintiff to obtain new counsel by Friday, September 24, 2021.

Hearing to Determine Counsel set for September 27, 2021 at 1:45 p.m.


 JS-10: 0:07
